                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

     UNITED STATES OF AMERICA,               )
                                             )
                        Plaintiff,           )
                                             )
          v.                                 )   No. 3:11-CR-00022-RJB
                                             )
     FRANCIS SHAEFFER COX,                   )
                                             )
                        Defendant.           )
                                             )

               ORDER GRANTING MOTION FOR PROTECTIVE ORDER

        Having duly considered the United States= Motion for a Protective Order pursuant

to Federal Rule of Criminal Procedure 16(d)(1), the Court finds Agood cause@ to order the

following restrictions on “Protected Information,” defined as: any of the following

information, produced by the government in discovery after the Court’s Order at docket

720, regarding any person other than the defendant:

     1. A person’s social security number;

     2. A person’s signature;

     3. A person’s residential or business address;

     4. A person’s birthdate; and

     5. A person’s phone number.

     The Defense Team (i.e. the defendant, defense counsel, counsel’s staff, and counsel’s

investigators) shall take reasonable precautions to prevent Protected Information from

being disseminated to any person who is not a member of the Defense Team.

//

          Case 3:11-cr-00022-RJB Document 729 Filed 04/26/19 Page 1 of 2
       Further, the defendant may not possess Protected Information except in counsel’s

office or the courtroom. Accordingly, the Defense Team shall not allow the defendant to

retain copies, printouts, or digital versions of discovery containing Protected Information.

       However, the defendant may possess discovery in which Protected Information has

been redacted.

       IT IS SO ORDERED.

              DATED this 26th day of April, 2019.



                                   A
                                   ROBERT J. BRYAN
                                   United States District Judge




US v. Cox
3:11-cr-00022-RJB                     2
         Case 3:11-cr-00022-RJB Document 729 Filed 04/26/19 Page 2 of 2
